UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                         Chapter 11

    60 91st Street Corp.,                                          Case No. 20-10338 (SCC)
                                       Debtor.



     ORDER GRANTING THE MOTION OF THE CHAPTER 11 TRUSTEE
PURSUANT TO SECTIONS 105, 363, AND 502(c) OF THE BANKRUPTCY CODE FOR
   ORDER (I) ESTIMATING THE CLAIM OF 2386 HEMPSTEAD, INC. AND (II)
 APPROVING SELECTION OF STALKING HORSE BIDDER, BREAK-UP FEE AND
 EXPENSE REIMBURSEMENT, AND RELATED RELIEF IN CONNECTION WITH
      THE SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS

             Upon consideration of the Motion of the Chapter 11 Trustee Pursuant to Sections 105,

363,and 502(c) of the Bankruptcy Code for Order (I) Estimating the Claim of 2386 Hempstead,

Inc. and (II) Approving Selection of Stalking Horse, Break-up Fee and Expense Reimbursement,

and Related Relief in Connection with the Sale of Substantially All of the Debtor’s Assets [ECF

No. __] (the “Motion”)1 of Heidi J. Sorvino, as Chapter 11 Trustee in the above captioned case,

(the “Chapter 11 Trustee”), requesting an estimation of the claims asserted by 2386 Hempstead,

Inc. (the “Lender”) and approval of the Chapter 11 Trustee’s selection of a stalking horse, a break-

up fee and expense reimbursement in connection therewith, and certain related relief, as described

more fully below, in connection with the Chapter 11 Trustee’s proposed sale of substantially all

of the Debtor’s assets.to Sections 105 and 542 of title 11 of the United States Code (the

“Bankruptcy Code”), and the Court having held a hearing on the Motion; and the Court having

reviewed the Motion and any opposition thereto; and after due deliberation and sufficient cause

appearing therefor, IT IS HEREBY ORDERED:



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    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.


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        1.     The Motion is GRANTED as set forth herein.

        2.     Pursuant to section 502(c), the Lender’s claims are estimated to be zero and the

Lender will not be permitted to credit bid at the Auction.

        3.     The Chapter 11 Trustee’s selection of Pinetree Group, Inc. as the Stalking Horse

Bidder at the Auction is approved along with the PSA and the Bid Protections, which are provided

for in the PSA as contemplated by the Bidding Procedures Order.

        4.     The Bankruptcy Court shall retain jurisdiction with respect to all matters arising

from or related to the implementation or interpretation of this Order.



Dated: _______________ , 2020
New York, New York
                                                     _______________________________
                                                     HONORABLE SHELLEY C. CHAPMAN
                                                     UNITED STATES BANKRUPTCY JUDGE




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